     Case 2:10-md-02179-CJB-DPC Document 7038 Filed 08/03/12 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 In re: Oil Spill by the Oil Rig                   *      MDL No. 2179
       “Deepwater Horizon” in the Gulf             *
       of Mexico, on April 20, 2010                *      SECTION “J”
                                                   *
 Applies to:                                       *      JUDGE BARBIER
 12-968 and 12-970                                 *
                                                   *      MAGISTRATE SHUSHAN


                                        ORDER
        [regarding Halliburton’s and Louisiana’s requests for settlement discovery]

       Halliburton Energy Services, Inc. (“Halliburton”) and the State of Louisiana (“Louisiana”)

request permission to conduct discovery with respect to and in advance of the November 8, 2012

final fairness hearing on the two proposed class settlements, including deposing class representatives

and experts. (See Tr. of 7/27/12 Working Group Conf. pp. 15-25, Rec. Doc. 6992). Relatedly,

Halliburton also filed a Motion for Clarification of the Court’s Order of June 29, 2012 (Rec. Doc.

6822), wherein it requested that the Order does not limit or burden Halliburton’s access to claims

information. (Rec. Doc. 6884). BP and the Plaintiffs’ Steering Committee (“PSC”) objected that

Halliburton and Louisiana do not have standing to object to the settlement and therefore their

requests for discovery are improper. The parties submitted letter briefs on this and related issues.

(See Rec. Docs. 7032 (PSC), 7033 (BP), 7035 (Louisiana), 7036 (Halliburton), 7037 (BP)). The

Transocean entities also submitted a letter brief . (Rec. Doc. 7034).

       In the context of class settlements, non-settling parties generally have no standing to

challenge the proposed settlement. Transamerican Refining Corp. v. Dravo Corp., 952 F.2d 898,

900 (5th Cir. 1992); Agretti v. ANR Freight Sys., 982 F.2d 242, 246 (7th Cir. 1992); see also In re

Vioxx Prods. Liab. Litig., 388 F. App’x 391, 395 (5th Cir. 2010). An exception to this general rule
     Case 2:10-md-02179-CJB-DPC Document 7038 Filed 08/03/12 Page 2 of 2




may apply if the settlement agreement strips non-settling parties of rights to contribution or

indemnity, or in some other manner results in “plain legal prejudice” to a non-settling party. Agretti,

982 F.2d at 246047.

       For reasons expressed by BP, the PSC, and the Transocean entities, the proposed settlements

will in no way affect any procedural or substantive rights of Halliburton or Louisiana.

       Accordingly,

       IT IS ORDERED that Halliburton’s and Louisiana’s discovery requests, including the

requests to depose class representatives and experts, are DENIED.

       IT IS FURTHER ORDERED that Halliburton’s Motion (Rec. Doc. 6884) for Clarification

of the Court’s June 29, 2012 Order is DENIED.

       New Orleans, Louisiana, this 3rd day of August, 2012.



                                                       __________________________________
                                                             United States District Judge




                                                  2
